Case: 4:17-cr-00234-RLW Doc. #: 2262 Filed: 09/26/22 Page: 1 of 6 PagelD #: 9308

September 19, 2022

Tim Cundiff

Owner at Kitchen Mechanical
3963 West Outer Rd

Arnold, MO 63010
314-503-4227

| am writing on behalf of Rami Almuttan. | have known him professionally and personally for over 13
years since my contracting business has regularly completed projects with him and his family.

Over the years, | have seen him demonstrate good character and judgement as a businessman and
citizen. He is a very diligent worker and typically works seven days a week in his family owned
supermarkets. | have always been very impressed by his work ethic and good humor.

For example, several years ago | was involved in a construction project with a relative of Mr. Almuttan.
The customer and | were at odds over payments and timelines and Mr. Almuttan contacted his relative
to offer his assistance as a third party.

H ican be of assistance In any way, please contact me anytime.

Tim Cundiff , (

 

 

 
Wf 19/22

David Wilson
US Foods
8543 Page ave

St. Louis, Mo

To whom is may concern:

lam writing this letter because Rami Almuttan asked me to provide a character reference on his
behalf. | met Rami about 4 years ago when | became his food sales rep at Northway Supermarket. | feel |
am qualified to speak on is behalf in terms of character.

Throughout the time | have known Rami, | have formed a very positive opinion of him. He always has a
smile on his face and greets every customer with respect. His market is not located in the best areas but
yet knows everyone that comes in and provides them with the best services. | have witnessed him help
out the homeless with a warm meal and also provide people with small jobs around the market to put

some money In their pockets to help them with their children. The way he treats me, and his customers
is nothing but professional and courteous.

Not only do | like Rami, | also respect him. | felt honored to be asked to provide this character reference
and hope that the information | provided helps you understand what an outstanding individual Rami
Almuttan really is. If | can be further assistance, please call me at 314-740-7725 or contact me by email
at wilsynbiggin@att net.

Regards,

WOO

David Wilson
‘Sep 24; 2022.

Jason Fischer

Gordon Food Service - Sales
5391 Brown Ave

Saint Louis, MO 63120

| am writing this letter because Rami Alimutan asked me to provide a character
reference on his behalf. | met Rami 6 years ago when his business accounts
were transferred to me from another colleague that was moving on to another
company. My job was to sell his businesses Food, cleaning and sanitary
chemicals and also consult him and his companies to achieve the sales goals
they placed for each location. | feel qualified to speak on Rami’s behalf in terms
of character.

Throughout the time that | have known Rami, | have formed a very positive
opinion of Rami. Rami has continued to care for his customers and provided a
positive service to the community for which he provided for. | had witnessed first
hand his compassion and kindness towards his customers and how he
generously provided services to them. | also witnessed how he continually
showed his care and commitment to his family and friends.

Not only do | like Rami, | also respect Rami. | felt honored to be asked to provide
the character reference and hope that the information | provided helps you
understand what an outstanding individual Rami really is. If | can be of further
assistance, please call me at (636) 441-5683 or contact me by email at

jason. fischer@qfs.com.

Regards,

Jason Fischer

 
Case: 4:17-cr-00234-RLW Doc. #: 2262 Filed: 09/26/22 Page: 4 of 6 PagelD #: 9311

Bill Lucco <blucco@Ibdhlaw.cam>

 

 

 

Character letter

 

Jason Fischer <jason.fischer@gfs.com> Mon, Sep 26, 2022 at 7:37 AM
To: "blucco@lbdhlaw.com" <biucco@Ibdhlaw.com>

Heilo, This is Jason Fischer, | do confirm that this unsigned letter is mine. Thank you!
[Quoted text hidden]
[Quoted text hidden]
 

September 22, 2022

To Whom It May Concern:

Thave known Mr. Rami Almuttan for several years now. Throughout the times I have known him,
he has always had a pleasant demeanor. He works with his brother at a neighborhood, family
owned and operated convenience store. All the customers hold him in high regard.

As a result of his professionalism, his kind and courteous personality, the local chapter of the
National Association for the Advancement of Colored People (NAACP) holds Rami in good
standing, in the neighborhood in which he works as well as the community in which he lives.

If you have any questions or need additional information, please feel free to contact me.

Sincerely,

Cu Ct HB ly

Rev. Elston K, McCowan

(314) 496-7861 Personal Mobil Phone

(314) 361-8600 NAACP Local Main Office Number
revemecowan@yahoo.com

  

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National Association for the Advancement of Colored People St. Louis Branch
4811 Delmar ® Saint Louis, Missouri 63108 = Tel: 361-8600 * Fax: 361-4334
stlouisnaacp@sbeglobal.net

 

 

 
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
